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UNITED sTATEs BANKRUSI§'H§§I UR‘FF ‘
EASTERN DISTRICT oF NEW'§?€S § “; § 0

 

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ln re:

Debtor(s) l l
x

 

 

NOTICE OF MOTION

PLEASE TAKE NOTICE that upon the annexed application of

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(Z/\/@B~' C_{`LA~;(J",` Bankruptcy Judge, to consider the motion for an Ord%_j /)¢) f 7~/,€/// (-(

granting relief as follows: §§ E 9 ZFZO § 0\) l 16" T,O;)v:`§ § L_'ué/\;‘g+@ U;¢>{?/D {LDF:Eo/¢/ rt/

     

         
 
 

 

 

 

  
 
   

 

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CaS€ 1-15-40163-0€0 DOC 190 Filed 02/16/18 Entered 02/16/18 17201:28

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re:
A/V\D b A_ & CaSC NO. / 0 b z
W /\) / f Chapter / rd -' £f /
Debtor(s)
x
APPLICATION IN SUPPORT OF MOTION
TO THE HON. O\ML/ /l' O/Z-/:l_l 9 , Bankruptcy Judge w

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1, 2121~\):) 71~~ ©7\)17‘ 1471/1 1>111127:»/1 @M111111111111 11
support o_f my motion for the following relief: ,/,€/;` OFE /\,] §/2/( 67 p(¢l&l

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F¥ZF) 1341 1241 @1@@12> §7§1:1~_1

 

In support of this motion, I hereby allege as follows:

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